                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

IN RE:                                 Chapter 7
                                       Case No. 20-10553 (CTG)
START MAN FURNITURE, LLC, et al.       Jointly Administered


TODD STEWART and JENNIFER              Civil Action No. 22-cv-00450 (CFC)
SAWLE, on behalf of themselves and
all others similarly situated,         Bankr. Case No. 20-10553 (CTG)
                                       Bankr. Adv. Pro. No. 20-50548 (CTG)
               Appellants,             Bankr. BAP No. 22-00030

         vs.

ALFRED T. GIULIANO, chapter 7
trustee for Debtors Start Man
Furniture, LLC, et al.,

               Appellee.



    BRIEF OF AMICI CURIAE COMMUNICATIONS WORKERS OF
    AMERICA, SERVICE EMPLOYEES INTERNATIONAL UNION,
AMERICAN FEDERATION OF TEACHERS, AMERICAN FEDERATION
OF STATE, COUNTY AND MUNICIPAL EMPLOYEES, AND NATIONAL
   EMPLOYMENT LAW PROJECT IN SUPPORT OF APPELLANTS’
                       OPENING BRIEF

THE ROSNER LAW GROUP LLC             DEMOCRACY FORWARD
Jason A. Gibson (DE No. 6091)        FOUNDATION
824 N. Market Street, Suite 810      Jeffrey Dubner
Wilmington, Delaware 19801           P.O. Box 34553
(302) 777-1111                       Washington, DC 20043-4553
gibson@teamrosner.com                (202) 448-9090
                                     jdubner@democracyforward.org

Dated: July 8, 2022                  Counsel for Amici
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                     INTEREST OF THE AMICI CURIAE
      Amici in this case are the Communication Workers of America, the Service

Workers International Union (“SEIU”), the American Federation of Teachers

(“AFT”), the American Federation of State, County and Municipal Employees

(“AFSCME”), and the National Employment Law Project (“NELP”) (collectively

“Amici”). Amici collectively represent millions of American workers in a wide

variety of fields—many of whom were laid off during the economic downturn that

accompanied the COVID-19 pandemic or still remain at risk of future layoffs.

      As explained in Amici’s Motion for Leave, Amici have a keen interest in this

case because the Court’s decision could have profound impacts on Amici’s members

and their own efforts to serve them. Advance notice of mass layoffs allows unions

and other organizations supporting workers to work with their members and get them

engaged in retraining or readjustment programs ahead of layoffs, in order to prevent

a loss of income. If this Court were to accept Defendant’s interpretation of the

WARN Act’s “natural disaster” exception, many workers would not receive the

notice required by the WARN Act. Amici thus have a strong interest in this case and

the proper interpretation of the WARN Act’s “natural disaster” exception.

      No counsel for a party authored this brief in whole or in part, and no person

other than amicus curiae, their members, and counsel contributed money that was

intended to fund the preparation or submission of this brief.



                                          1
            INTRODUCTION AND SUMMARY OF ARGUMENT
      Congress passed the Worker Adjustment and Retraining Notification

(“WARN”) Act of 1988 to ensure that employees received adequate notice before

their employer ordered a mass layoff or plant closing. 29 U.S.C. § 2102(a). As

Congress found, advance notice of mass layoffs is critical to protecting workers,

their families, and their communities. It gives workers time to retrain, apply for new

jobs, and adjust their financial circumstances before losing their income. It enables

state and local governments to help laid off employees find new jobs. And it places

workers in the best position possible to protect their families’ access to food,

healthcare, and education. See generally H.R. Rep. No. 100-576, pt. 2, at 1045

(1988), reprinted in H. Subcomm. on Lab.-Mgmt. Relations of the Comm. on Educ.

& Lab., 101st Cong., 2d Sess., Legislative History of S. 2527, 100th Cong., WARN,

Pub. L. No. 100-379, at 571 (1990) (hereinafter “Leg. Hist.”); U.S. Dep’t of Labor,

Economic Adjustment and Worker Dislocation in a Competitive Society: Report of

the Secretary of Labor’s Task Force on Economic Adjustment and Worker

Dislocation 10 (1986) (hereinafter “1986 DOL Report”).

      Under the WARN Act, “[a]n employer shall not order a plant closing or mass

layoff until the end of a 60-day period after the employer serves written notice of

such an order.” 29 U.S.C. § 2102(a). Congress carefully crafted three limited

exceptions to the 60-day notice requirement, known as the “faltering company”



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exception, the “unforeseeable business circumstances” exception, and the “natural

disaster” exception. 29 U.S.C. § 2102(b). These exceptions must be construed

narrowly. See, e.g., In re APA Transp. Corp. Consol. Litig., 541 F.3d 233, 249 (3d

Cir. 2008); Easom v. US Well Servs., Inc., 37 F.4th 238, 2022 WL 2136084, at *4

(5th Cir. 2022).

      The Bankruptcy Court’s decision in this case, however, applied the

“unforeseeable business circumstances” and “natural disaster” exceptions in ways

that significantly impair the WARN Act’s remedial purpose. It expanded the scope

of the “natural disaster” exception to cover not only the direct effect of natural

disasters, but also economic downturns spurred by a viral pandemic. In doing so, the

court relied on a single district court case that has since been overturned and

inapposite cases having nothing to do with the WARN Act. And it granted summary

judgment on the “unforeseen business circumstances” exception because it found

that Plaintiffs failed to rebut Defendants’ showing even though Plaintiffs had not had

the opportunity to test that showing through discovery. This impairs employees’

ability to contest an employer’s claims and frustrates Congress’s purpose in enacting

not only the WARN Act but also the Federal Rules of Civil Procedure.

      The Bankruptcy Court’s decision upsets the careful balance enacted by

Congress in its efforts to ensure that workers have as much notice as is possible of

an impending layoff. This Court should reverse the judgment below, confine the


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“natural disaster” exception to its proper scope, and confirm that summary judgment

is generally inappropriate where employees have had no chance to test in discovery

an employer’s purported rationale for forgoing WARN Act notice.

                                  ARGUMENT

    I.     The Exceptions to the WARN Act Must Be Construed Narrowly
         As numerous courts have held, “the WARN Act’s exceptions permitting a

reduction of the notice period run counter to the Act’s remedial purpose and thus,

are to be ‘narrowly construed.’” Easom, 2022 WL 2136084, at *4 (quoting

Carpenters Dist. Council of New Orleans v. Dillard Dep’t Stores, Inc., 15 F.3d 1275,

1282 (5th Cir. 1994));1 see generally Markowitz v. Ne. Land Co., 906 F.2d 100, 105

(3d Cir. 1990) (noting “the general rule of statutory construction that exemptions

from remedial statutes such as the Act are to be narrowly construed”). The history

and text of the WARN Act support the conclusion that the exceptions to the notice

requirement must be read narrowly.

           A. Displaced Workers Are Uniquely Burdened
         As the Department of Labor (“DOL”) explained in the congressionally




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  Accord, e.g., Day v. Celadon Trucking Servs., Inc., 827 F.3d 817, 836 (8th Cir.
2016); Local Union 7107 v. Clinchfield Coal Co., 124 F.3d 639, 640 (4th Cir. 1997);
Pearce v. Faurecia Exhaust Sys., Inc., 529 F. App’x 454 (6th Cir. 2013); see also In
re APA Transport Corp., 541 F.3d at 247 (construing faltering company defense);
Castro v. Chicago Hous. Auth., 360 F.3d 721, 730 (7th Cir. 2004) (construing good
faith defense).

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commissioned report that led to the passage of the WARN Act, displaced workers2

face potentially devastating challenges upon being laid off from a job. See, e.g., 1986

DOL Report 3 (“Worker dislocation constitutes a markedly different kind of

unemployment in many respects.”). Especially during a broad economic downturn,

they often face problems finding full-time work that provides equivalent pay and

benefits as the lost job, thereby decreasing, sometimes quite significantly, their long-

term earning potential.3 In fact, one study found that displaced workers who have

been at their jobs for 20 years would see a 20 to 40 percent dip in their income upon

reentering the workforce.4

      Moreover, displaced workers are at increased risk for a variety of mental and

physical health issues.5 For example, studies have found that they are more



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  “Displaced workers” are people “who lost or left jobs because their plant or
company closed or moved, there was insufficient work for them to do, or their
position or shift was abolished.” U.S. Bureau of Lab. Stat., Economic News Release,
Displaced Workers Summary (Aug. 27, 2020), https://bit.ly/34Z4wtZ.
3
 See Bruce C. Fallick, A Review of the Recent Empirical Literature on Displaced
Workers, 50 ILR Rev. 5, 8–10 (1996); Christopher J. Ruhm, Are Workers
Permanently Scarred by Job Displacements?, 81 Am. Econ. Rev. 319, 322 (1991);
Louis S. Jacobson et al., Earnings Losses of Displaced Workers, 83 Am. Econ. Rev.
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4
 Louis Jacobson et al., Is Retraining Displaced Workers a Good Investment?, 29
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5
  See, e.g., Leon Grunberg et al., Differences in Psychological and Physical Health
Among Layoff Survivors: The Effect of Layoff Contact, 6 J. Occupational Health
Psych. 15, 15–25 (2001) (citing studies); Kate W. Strully, Job Loss and Health in
the U.S. Labor Market, 46 Demography 221, 221 (2009).

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susceptible to depression and anxiety, and suffer from a host of other physical

conditions, including obesity, high blood pressure, and diabetes.6 Studies also show

that layoffs are connected with an increased incident rate of spousal and child abuse,

as well as divorce.7 And displaced workers are significantly more susceptible to

problems with drug and alcohol consumption.8

          Congress passed the WARN Act to mitigate these types of challenges.

Congress acknowledged that “most workers[,] and particularly older workers

displaced by plant closings, suffer large income reductions even when they succeed

in finding new work.” Leg. Hist. at 593. Indeed, DOL had reported to Congress that

between 1979 and 1984, displaced workers saw “average real earnings losses of 10

to 15 percent upon reemployment,” with many displaced workers having “losses of

25 percent or more.” 1986 DOL Report at 14.

          Congress also explained that “the health effects of job loss can be even more

dramatic,” noting that research had documented “numerous physiological changes

caused by stress following plant closures, including increased uric acid, blood

pressure, blood sugar, and cholesterol levels.” Leg. Hist. at 593. It also explained


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  Id.; Tomas Korpi, Accumulating Disadvantage: Longitudinal Analyses of
Unemployment and Physical Health in Representative Samples of the Swedish
Population, 17 Eur. Socio. Rev. 255, 270 (2001).
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    Id.
8
 Ralph Catalano et al., Job Loss and Alcohol Abuse: A Test Using Data from the
Epidemiological Catchment Area Project, 34 J. Health & Soc. Behav. 215 (1993).

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that displaced workers are more likely to experience mental health issues, including

depression, and that “[s]uicide rates increase dramatically among those who

experience plant closings.” Id.

      Congress was also concerned with the families of displaced workers. It

explained that “Social Service agencies report huge increases in child abuse and

spouse abuse after mass layoffs as the displaced workers vent their anger and

frustration on their families,” and that “[d]esertion and divorce increase especially

in families where the breadwinner remains unemployed a year or more after the

closure and family savings begin to be depleted.” Id. at 593–94.

      Finally, Congress explained that mass layoffs and plant closings have a

“domino or ripple effect,” citing testimony from “dozens of mayors, city managers,

and other local leaders” about the public consequences of private sector

disinvestment. Id. at 594.

          B. The Remedial Purpose of Notice
      Congress did not just recognize these problems; it sought to fix them. Between

1979 and 1984, “the vast majority of workers receive[d] little or no notice of closings

or layoffs.” Leg. Hist. at 596.9 That lack of notice exacerbated the problems inherent

in job loss: workers did not have time to look for new jobs and/or make financial



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 See also U.S. Gov’t Acct. Office, Dislocated Workers: Extent of Business Closures,
Layoffs, and the Public and Private Response 3 (July 1, 1986), https://bit.ly/3aq1qSI.

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adjustments before the layoff, and state and local governments were unable to

develop effective adjustment programs.

      Accordingly, both DOL and the Congressional Office of Technology

Assessment (“OTA”) recommended that employers be required to provide notice.

See Leg. Hist. at 596–97. As DOL has explained, “[a]dvance notice provides workers

and their families some transition time to adjust to the prospective loss of

employment, to seek and obtain alternative jobs and, if necessary, to enter skill

training or retraining that will allow these workers to successfully compete in the job

market.” 20 C.F.R. § 639.1(a).10 It also “provides for notice to State dislocated

worker units so that dislocated worker assistance can be promptly provided.” Id.; see

also 1986 DOL Report 4 (“[T]he earliest notification possible leads to more effective

delivery of public and private services to dislocated workers.”). And OTA stressed

the economic benefits that could accompany mandatory advance notice, estimating

that the federal government could save between $257 and $384 million dollars in

unemployment insurance. Leg. Hist. at 184.

      Congress heeded DOL and OTA’s recommendations in passing the WARN

Act in 1988. A House Report on the bill that became the WARN Act explained that


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   See also Collins v. Gee West Seattle LLC, 631 F.3d 1001, 1007 (9th Cir. 2011)
(the WARN Act “is a wage workers’ equivalent of business interruption insurance.
It protects a worker from being told on payday that the plant is closing that afternoon
and his stream of income is shut off, though he has to buy groceries for his family
that weekend and make a mortgage payment the next week.”).

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“it is in the interest of both the health of our economy and the well being of American

workers to devote significant resources to a sensible and effective worker

readjustment program.” Leg. Hist. at 587. It further found that “advance notification

is an essential component of a successful adjustment program.” Id. at 586.

      The WARN Act similarly contains “textual indication[s],” Encino Motorcars,

LLC v. Navarro, 138 S. Ct. 1134, 1142 (2018) (internal quotation omitted), that

exemptions to that essential advance notification requirement should be construed

narrowly. The WARN Act prohibits employers from “evad[ing]” the ordinary 60-

day notice requirement by engaging in the sleight of hand of laying off smaller

groups of people in short succession so as to not meet the threshold numerical

requirement of a “mass layoff.” 29 U.S.C. § 2102(d). And the Act explicitly

encourages maximum notice even when not statutorily mandated: “It is the sense of

Congress that an employer who is not required to comply with the notice

requirements … should, to the extent possible, provide notice to its employees about

a proposal to close a plant or permanently reduce its workforce.” 29 U.S.C. § 2106;

see also Oil, Chem. & Atomic Workers Int’l Union v. RMI Titanium Co., 199 F.3d

881, 886 (6th Cir. 2000) (“WARN expressly encourages employers to notify

employees before permanent layoffs are effected, whether or not the statute’s

triggering thresholds are met.”).

      Thus, the exceptions to the standard 60-day notice requirement must be


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construed narrowly.

   II.      The Debtors’ Response to COVID-Related Regulations Does Not Fall
            Within the “Natural Disaster” Exception
         The Trustee argues that the “natural disaster” exception excused the Debtors

from providing notice of the anticipated layoffs because they allegedly changed their

going-out-of-business plans due to COVID-19 slowing down their sales and states

imposing temporary regulations. Leaving aside the impropriety of accepting this

defense without discovery (discussed in Part III below), it fails for two reasons:

because viral pandemics are not “natural disasters” for the purposes of the WARN

Act, and because neither economic downturns nor government regulation are the

kind of direct cause required by the WARN Act.

   A. COVID-19 Is Not a “Natural Disaster” for Purposes of the WARN Act
         In holding that COVID-19 qualifies as a “natural disaster” under the WARN

Act, 29 U.S.C. § 2102(b)(2)(B), the Bankruptcy Court relied principally on the

district court opinion in Easom v. US Well Services, Inc., 527 F. Supp. 3d 898 (S.D.

Tex. 2021). See Bankr. Ct. Op. at 27–28, ECF No. 10-18. After the Bankruptcy Court

issued its opinion, however, the Fifth Circuit reversed Easom. 37 F.4th 238, 2022

WL 2136084.

         The Fifth Circuit’s sensible construction of the WARN Act should be

followed here. Congress structured the “natural disaster” exception to apply only to

disasters “such as a flood, earthquake, or … drought.” 29 U.S.C. § 2102(b)(2)(B).


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As the Fifth Circuit explained, these are all “hydrological, geological, and

meteorological events,” Easom, 37 F.4th 238, 2022 WL 2136084, at *4—that is,

disasters that could physically affect a plant, store, or farm. Under the canons of

noscitur a sociis and expressio unius est exclusion, Congress’s decision to specify

only disasters that could render continued operation of a facility physically

impossible supports an inference that they did not intend to include other types of

calamities, even if they could conceivably be considered a “natural disaster” under

other definitions. Id. at *4.

       This interpretation is particularly warranted in light of the remedial purpose

discussed above. See infra Part I. As the Fifth Circuit said, reading the “natural

disaster” exception as Defendants read it here would “expand the definition of

‘natural disaster’ beyond what is justified by the Act’s statutory language, context,

and purpose.” Easom, 37 F.4th 238, 2022 WL 2136084, at *4.

       The DOL, which Congress charged with interpreting the WARN Act, see 29

U.S.C. § 2107(a), has come to the same conclusion, issuing guidance explaining that

layoffs related to COVID-19 should be considered under the unforeseeable business

circumstance exception. See U.S. Dep’t of Labor, Worker Adjustment and

Retraining Notifications Act Frequently Asked Questions 2 (hereinafter “DOL

COVID-19 Guidance”), https://bit.ly/3LFjN3G (last visited July 8, 2022). While this

guidance document is not due controlling weight, the Court should defer to it to the


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extent it has the “power to persuade.” Skidmore v. Swift & Co., 323 U.S. 134, 140

(1944). Moreover, as discussed more fully below, DOL, in regulations that are due

deference, has interpreted the “unforeseeable business circumstances” exception—

not the “natural disaster” exception—in the WARN Act to cover instances, like the

one here presented, where a natural disaster causes downstream effects such as

regulatory changes or economic downturns, which in turn prompt a mass layoff. See

infra pp. 19-21.

      In a footnote, the Bankruptcy Court also cited a handful of cases that found

COVID-19 to fit within clauses of unrelated statutes or contracts that referred to

“natural disasters.” Bankr. Ct. Op. at 27 n.111. These cases have nothing to do with

the WARN Act and shed no light on how Congress’s commands should be

interpreted. For example, one case dealt with the Pennsylvania Emergency Code,

which applies to all “man-made [or] natural disaster[s]” as long as they threaten,

cause, or result in “substantial damage to property, hardship, suffering or possible

loss of life,” as well as “war-caused disasters” that result in “substantial damage to

property or injury to persons in the United States.” 35 Pa. Stat. & Cons. Stat. Ann.

§ 7102 (West 2020) (emphasis added); see Friends of Danny DeVito v. Wolf, 227

A.3d 872, 887 (Penn. 2020). Another dealt with the Pennsylvania Election Code,

which grants “authority to provide relief when there is a natural disaster or

emergency.” Penn. Democratic Party v. Boockvar, 238 A.3d 345, 363 (Penn. 2020)


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(emphasis added) (internal quotation marks omitted). These are state statutes

designed to ensure the government has adequate power to respond to emergencies

of any nature; they are not provisions delineating a limited exception to a remedial

federal statute. They therefore shed no light on how the particular language of the

WARN Act should be construed. The fact that COVID-19 may qualify as a “natural

disaster” in some statutory contexts does not mean it does so in all statutory

contexts.11

          B. To Satisfy the “Natural Disaster” Exception, Layoffs Must Be
             Directly Caused by the Disaster—Not by an Economic Downturn
             or Government Regulation
      The Bankruptcy Court next stated that it need not decide whether the “natural

disaster” exception requires “but for” causation or “direct” causation, because even

under the “more stringent standard,” “COVID-19 was an immediate cause of the

March 20, 2020 layoff.” Bankr. Ct. Op. at 28–29. This misunderstands the

exception’s causal requirement. Under the Trustee’s theory, the putative disaster



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   The other cases included in the court’s footnote deal with clauses in contracts
between private parties, which are even less probative here. In any event, the
wording and context of those clauses similarly show an intent to sweep far broader
than the WARN Act’s language. See JN Contemp. Art LLC v. Phillips Auctioneers
LLC, 507 F.Supp.3d 490, 496 (S.D.N.Y. 2020) (contractual provision referring to
any “circumstances beyond our or your reasonable control, including, without
limitation, as a result of natural disaster …”); AB Stable VIII LLC v. Maps Hotels &
Resorts One LLC, C.A. No. 2020-0310-JTL, 2020 WL 7024929, at *53–54 (Del.
Ch. Nov. 30, 2020) (contractual provision referring generally to “natural disasters or
calamities”).

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was not the cause of Debtors’ decision to abandon their wind-down plan; the

slowdown in purchasing and subsequent state regulations were. The alleged disaster

itself was at most a “but for” cause, which would not suffice under the “natural

disaster” exception even if COVID-19 came within its definition. The sort of

derivative consequences defendants rely upon may fit into the “unforeseen business

circumstances” exception, but they are not the kind of direct causation from a natural

disaster envisioned by Congress. This is confirmed by the text, structure, and

purpose of the WARN Act, as well as the regulations implementing it.

         1. The “Natural Disaster” Exception Requires Direct, Not Just But-For,
            Causation

      The “natural disaster” exception relieves an employer of its obligation to

provide any notice of a plant closing or layoff only if the closing or layoff was “due

to” a natural disaster. 29 U.S.C. § 2102(b)(2)(B). As the Fifth Circuit recently

explained, that statutory language requires direct, proximate causation—not merely

“but-for” or attenuated causation. See Easom, 2022 WL 2136084, at *5–6; see also

Jones v. Scribe Opco, Inc., --- F. Supp. 3d ----, 2022 WL 813824, at *4–5 (M.D. Fla.

Mar. 17, 2022); Benson v. Enter. Leasing Co. of Orlando, LLC, No. 20-cv-891, 2021

WL 1078410, at *5 (M.D. Fla. Feb. 4, 2021).

      This conclusion is required by the structure and history of the WARN Act’s

exceptions. The “natural disaster” exception eliminates the notice requirement

entirely, while the “unforeseeable business circumstances” exception still requires


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that an employer give as much notice as is practicable. See Sides v. Macon Cnty.

Greyhound Park, Inc., 725 F.3d 1276, 1284–85 (11th Cir. 2013) (contrasting the

“no-notice” natural disaster exception with the “some notice” unforeseeable business

circumstances exception). Whereas the “natural disaster” exception applies only if

the “plant closing or mass layoff is due to” the disaster, 29 U.S.C. § 2102(b)(2)(B),

the “unforeseeable business circumstances” exception applies whenever layoffs or

plant closings are “caused by business circumstances that were not reasonably

foreseeable as of the time that notice would have been required,” id. § 2102(b)(2)(A),

such as when a layoff or plant closing stems from “an unanticipated and dramatic

major economic downturn,” 20 C.F.R. § 639.9(b)(1).

      Reading those two statutory exceptions in tandem shows that the “natural

disaster” exception requires something more than a mere showing of but-for

causation, such as Defendants’ claim that the pandemic led to regulations or

customer aversion that in turn prompted Defendants to change their wind-down

plans. Notice is likely impossible in cases of, say, a tornado destroying a plant; by

contrast, notice of some kind is likely possible in cases of, say, severe weather

causing a regional economic downturn that lowers demand and causes businesses to

lay off employees. Recognizing this, Congress established different types of notice

exceptions, excusing the directly affected plant owner of their obligation to provide

notice under the “natural disaster” exception, and allowing the downstream business


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to provide less than 60 days of notice, but still as much as practicable, under the

“unforeseeable business circumstances” exception.

       That distinction is not only reasonable, it furthers Congress’s express purpose

in passing the WARN Act: to ensure workers are given as much notice as is possible

in the case of a layoff or plant closing. Given the requirement that WARN Act

exceptions be construed narrowly, see supra Part I, it is the most natural reading of

the statute’s text.

       It is also supported by the Act’s legislative history. The “natural disaster”

exception was proposed as an amendment to the original bill to excuse a no-notice

layoff that was “due, directly or indirectly,” to a natural disaster. See Leg. Hist. at

358–62 (emphasis added). As the amendment’s proponent expressed: “I am offering

this amendment which stipulates that plant closing notifications will not be required

in cases where businesses are shut down due to natural disasters.” Id. at 358

(statement of Sen. Dole). He went on to state that the word “indirectly” was included

to clarify that the “natural disaster” exception would cover the economic hardships

of “somebody who may be downstream.” Id. at 360.

       Opponents of the “indirect” language made clear, however, that such a

circumstance was already covered by the exception “in connection with

unforeseeable business circumstances,” which made sense given that oftentimes

notice “can be given” by those affected downstream of a natural disaster—even if


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not the full 60 days. Id. (statement of Sen. Metzenbaum). So, it was explained, the

“natural disaster” exception, which excuses any notice, could not be used as “a carte

blanche so that anybody who claims they had some impact, however small … would

not have to give notice.” Id. at 363. The phrase “directly or indirectly” was thus

struck from the amendment. Id.

      A month later, the House included in its Report several examples of

unforeseeable business circumstances that might excuse the 60-day notice

requirement, including that “a natural disaster may destroy part of a plant.” Leg.

Hist. at 575 (emphasis added). That example makes clear that, in Congress’s view,

the existence of a natural disaster, by itself—even if it can be said to be a but-for

cause of the layoff—does not mean that the “natural disaster” exception applies to

completely absolve an employer of its obligations under the Act to provide notice of

a layoff. Indeed, the Report listed an example of “unforeseen business

circumstances” indistinguishable from what the Bankruptcy Court relied on here:

where “an employer may experience a sudden, unexpected and dramatic change in

business conditions such as price, cost, or declines in customer orders.” Id. These

examples demonstrate that an economic downturn—regardless of the instigating

event—is covered, if at all, by the “unforeseeable business circumstances”

exception. That means the “natural disaster” exception covers something different—

namely, that an employer is excused from providing notice of a layoff if a natural


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disaster is the proximate cause of that layoff.

      Finally, even if the statute itself were ambiguous, Congress expressly

authorized the Department of Labor (“DOL”) to prescribe regulations carrying out

the WARN Act. See 29 U.S.C. § 2107. The DOL has, in no uncertain terms, adopted

the interpretation above. The DOL’s regulations, issued after notice-and-comment

rulemaking, state that “[t]o qualify for [the natural disaster] exception, an employer

must be able to demonstrate that its plant closing or mass layoff is a direct result of

a natural disaster.” 20 C.F.R. § 639.9(c)(2) (emphasis added); see Worker

Adjustment and Retraining Notification, 54 Fed. Reg. 16,042, 16,063 (Apr. 20,

1989) (considering WARN Act’s text, purpose, and legislative history). That

requires proximate cause, rather than but-for causation. See Hemi Grp., LLC v. City

of New York, 559 U.S. 1, 13–14 (2010) (equating “proximate” and “direct”

causation); Dixie Pine Prods. Co. v. Md. Cas. Co., 133 F.2d 583, 585 (5th Cir. 1943)

(“It is well settled that the words ‘direct cause’ ordinarily are synonymous in legal

intendment with ‘proximate cause.’”). By contrast, as DOL explained, “[w]here a

plant closing or mass layoff occurs as an indirect result of a natural disaster, the

exception does not apply but the ‘unforeseeable business circumstance’ exception

… may be applicable.” 20 C.F.R. § 639.9(c)(4) (emphasis added). More generally,

DOL required that “in ambiguous situations,” employers should give notice, 20

C.F.R. § 639.1(e), codifying the rule of narrow construction.


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      Courts have consistently found this interpretation reasonable and deferred to

it. See Easom, 2022 WL 2136084, at *5 (giving “controlling weight to the DOL

regulation”); Jones, 2022 WL 813824, at *4 (“The Secretary’s interpretation of the

natural disaster exception is reasonable and warrants deference.”); Benson, 2021 WL

1078410, at *5; see also Sides, 725 F.3d at 1284 (deferring to DOL interpretation of

“unforeseeable business circumstances” exception). This Court should do so as well.

          2. Defendants Allege That Economic Downturn and Regulatory Change
             Directly Caused Them to Accelerate the Layoffs—Not the “Disaster”
             Itself

      As shown above, it is not enough to show that a natural disaster caused a

change in the business environment that in turn prompted layoffs. But (assuming for

the sake of argument that COVID-19 was a “natural disaster” for the purposes of the

WARN Act) that is all that Defendants allege. They argue that “[t]he threat of

infection, illness and death from COVID-19 made customers stay away from the

[going-out-of-business sales].” Bankr. Ct. Op. at 21. This is indistinguishable from

the “sudden, unexpected and dramatic change in business conditions such as …

declines in customer orders” that the House Report excluded from the “natural

disaster” exception. See supra p. 19. They argue that “various governmental

authorities required citizens to stay at home or shelter in place,” Bankr. Ct. Op. at

21, but the effect of a regulatory change cannot be considered the direct effect of a

natural disaster.



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      For all these reasons, Defendants’ claim to escape the WARN Act

requirements must be considered under the “unforeseeable business circumstances”

exception, not the “natural disaster” exception.

   III.   The WARN Act’s Exceptions Are Fact-Bound Defenses That
          Typically Require Discovery
      Finally, as Plaintiffs explain, the Bankruptcy Court erred by granting

summary judgment under Federal Rule of Civil Procedure 56 without allowing

Plaintiffs to take discovery under Rule 56(d). See Appellants’ Br. at 36–38, ECF No.

11. The WARN Act’s exceptions are narrow, fact-bound defenses that ask whether

the circumstances to which the employer points actually caused the layoffs. Without

an opportunity for discovery, employees have no ability to test this crucial question.

      As the Bankruptcy Court recognized, once an employer comes forward with

evidence that, if unrebutted, would establish a defense to a WARN Act violation, the

employee must then “produce ‘evidence in the record creating a genuine issue of

material fact.’” Bankr. Ct. Op. at 10 (quoting FBI Wind Down, Inc., 614 B.R. 460,

472 (Bankr. D. Del. 2020)). Any such evidence necessarily would have been in

Debtors’ possession—but the court deprived Plaintiffs of the opportunity to obtain

document or deposition discovery to test the Debtors’ assertions. This was error. A

court cannot grant summary judgment on the ground that “Plaintiffs’ proffered

evidence that COVID-19 was merely a pretext for the mass layoff is tenuous,”

Bankr. Ct. at 23, when it denied Plaintiffs the discovery into that question to which


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the Federal Rules entitle them. See, e.g., Doe v. Abington Friends Sch., 480 F.3d

252, 257 (3d Cir. 2007) (“If discovery is incomplete in any way material to a pending

summary judgment motion, a district court is justified in not granting the motion.”).

                                 CONCLUSION
      For the reasons discussed above, this Court should hold that the “natural

disaster” exception could not justify Defendants’ failure to provide statutory notice

of the mass layoffs, and that the Bankruptcy Court erred by granting summary

judgment without providing Plaintiffs an opportunity to receive discovery.




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Dated: July 8, 2022     Respectfully submitted,
       Wilmington, DE
                        THE ROSNER LAW GROUP LLC

                        /s/ Jason A. Gibson
                        Jason A. Gibson (DE No. 6091)
                        824 N. Market Street, Suite 810
                        Wilmington, Delaware 19801
                        (302) 777-1111
                        gibson@teamrosner.com

                        and

                        Jeffrey Dubner (pro hac vice motion forthcoming)
                        DEMOCRACY FORWARD FOUNDATION
                        P.O. Box 34553
                        Washington, DC 20043-4553
                        (202) 448-9090
                        jdubner@democracyforward.org
                        Counsel for Amici




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      This document complies with this Court’s November 6, 2019 Standing Order

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Dated: July 8, 2022                        /s/ Jason A. Gibson
                                           Jason A. Gibson (DE Bar No. 6091)
